     Case 1:04-cr-00190-PB   Document 32    Filed 08/12/05   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                        04-cr-190-PB

Harry Durgin


                               O R D E R


     The defendant, through counsel, has moved to continue the

August 15, 2005 change of plea hearing and the August 16, 2005

trial date because he is currently hospitalized for injuries

suffered in an accident.     The defendant anticipates he will

remain hospitalized for some time.         The government does not

object to a continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to reschedule the plea hearing or properly

prepare for trial, the court will continue the trial from August

16, 2005 to November 1, 2005.     In agreeing to continue the trial,

the court finds pursuant to 18 U.S.C.A. § 3161(h)(8)(A) that for

the above-stated reasons, the ends of justice served in granting
      Case 1:04-cr-00190-PB   Document 32   Filed 08/12/05   Page 2 of 2




a continuance outweigh the best interests of the public and the

defendant in a speedy trial.

      SO ORDERED.



                                         ____________________________
                                         Paul Barbadoro
                                         United States District Judge

August 12, 2005

cc:   Paul Garrity, Esq.
      Mark Howard, AUSA
      Sandra Bloomenthal, Esq.
      United States Probation
      United States Marshal




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